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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


VICTOR LEVINGSTON                                                       PLAINTIFF

V.                                NO. 4:19-CV-142 JM

WAL-MART STORES, INC.                                                 DEFENDANT


                           STIPULATION OF DISMISSAL

         It is stipulated and agreed by and between the parties in the above-styled

case, through their attorneys, that the above-styled cause of action should be

dismissed with prejudice, each party to bear his and its own costs.

         Dated this 2nd day of July, 2019.


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